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 7
                                IN THE UNITED STATES DISTRICT COURT
 8                                  FOR THE DISTRICT OF ARIZONA

 9
     United States of America,                         NO. CR-18-00422-PHX-SMB
10
                              Plaintiff,               DEFENDANT MICHAEL LACEY’S
11   vs.                                               SUPPLEMENT TO MOTION TO
12                                                     AMEND HIS CONDITIONS OF
     Michael Lacey, et al.,                            PRETRIAL RELEASE (DOC. 503)
13
                         Defendants.                   (Expedited oral argument requested)
14

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16           Defendant Michael Lacey, by and through his undersigned counsel, hereby respectfully
17   submits the instant supplement to his Motion to Amend his Conditions of Pretrial Release
18   (“Motion”) (Doc. 503), which was filed on March 19, 2019. The attached Exhibit A, a letter from
19   physician Fred S. Markham should have been included as Exhibit A to the Motion. We regret any
20   inconvenience this may cause the Court.
21

22           RESPECTFULLY SUBMITTED this 16th day of April, 2019,

23                                           /s/   Erin E. McCampbell
24                                                 LIPSITZ GREEN SCIME CAMBRIA LLP
                                                   Attorneys for Defendant Michael Lacey
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